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MEG/AS
F.#2017R01721

UNITED STATES DISTRICT COURT
EASTERN DlSTRI-CT OF NEW YORK

 

IN TI-IE MATTER OF THE SEARCH OF
A BLUE LG SMARTPHONE, MODEL
LGMSZIO, BEARING IMEI 353191-09-
349393-0 IN THE CUSTODY OF THE
FEDERAL BUREAU OF
INVESTIGATION

 

 

 

APPLICATION FOR A SEARCH
WARRANT FOR AN ELECTRONIC
DEVICE

Case No.

 

AFFIDAVIT IN SUPPORT OF AN
APPLICATION UNDER RULE 41 F()R A
WARRANT TO SEARCH AND SEIZE

I, STEVEN SCHILIRO, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

l. I make this affidavit in support of an application under Rule 41 of the Federal
Rules of _Crirninal Procedure for a search Warrant authorizing the examination of propertyj
an electronic device_Which is currently in law enforcement possession, and the extraction

1 from that property of electronically stored information described in Attachrnent B.

l. l arn a Special Agent with the Federal Bureau of Investigation (“FBI”),
and have been since 2009. l arn currently assigned to the NeW York l\/letro Safe Street Gang
Task Force, Where l investigate gangs, narcotics trafficking firearms trafEcl<ing, fraud and
other offenses These investigations are conducted both overtly and covertly. During my
tenure vvitirthe 'F'Bi=, ihave"p'arti=eipated-in numerous investigations of gangs, during "Wni‘ch f y

have (a) conducted physical surveillance, (b) executed search Warrants, (c) debriefed

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cooperating Witnesses and victims, (d) reviewed and analyzed numerous taped conversations
of those engaged in gang activities, (e) monitored Wiretapped conversations and reviewed
line sheets prepared by Wiretap monitors, and (f) reviewed material obtained pursuant to
search Wa;rrants, including the contents of electronic devices, electronic mail accounts and
social media accounts Through my training, education and experience, l have become
familiar With the manner in Which racketeering drug distribution, gun trafficking and money
laundering schemes are carried out, and the efforts of persons involved in such activity to
avoid detection by law enforcement

2. This affidavit is intended to show only that there is sufficient probable cause

for the requested Warrant and does not set forth all of my knowledge about this matter.
]])ENTIFICATION OF THE DEVICE TO BE EXAMINED

3. The property to be searched is a blue LG smartphone, model LGMSZIO,
bearing IMEI 353 191-09-349393-0, hereinafter the “Device.” The Device has been in the
custody of the FBl since it Was seized on Apn`l 17, 2018. The Device is currently in the
Eastern District of New York in the custody of the undersigned, but it is generally
maintained in storage at the FBI’s NeW Yorl< Field Ofiice under item number iBlS and
barcode E6280573. The Device is currently in the Eastern District of New York in the

custody of the affiant

4. The applied-for Warrant Would authorize the forensic examination of the
Device for the purpose of identifying electronically stored data particularly described in

Attachment 'B-

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PROBABLE CAUSE

t 5. The Device came into the custody of the'FBl on April l'l, 2018, when Felix
Collazo, also known as “Broadway,” the user of the Device, Was arrested pursuant to a
warrant issued by the Honorable Ramon E. Reyes, .lr., l\/lagistrate Judge for the Eastem
District of New York. COLLAZO Was arrested in his apartment in the Bronx. The Device
Was located in a back bedroom of the apartment The arrest warrant was predicated on

- COLLAZO’s membership in a large-scale narcotics-trafficking conspiracy operating in
Brooklyn, the Bronx, and elsewhere COLLAZO is charged under criminal docket 18-185
(FB) With Conspiracy to Distribute and Possession with lntent to Distribute cocaine base and

heroin, in violation of Title 21, United States Code, Section 846 and 84l(b)(l)(A)(iii).

6. Prior to his arrest, COLLAZO Was the target of a long-term investigation
conducted by the FBI and the New York City Police Department (“NYPD”) into drug-related
and other crimes committed by members of the l\/Iac Baller Brims, a set of the Bloods street
gang in Which COLLAZO is a member. The investigation involved, among other
investigative techniques, the use of Court-authorized Wiretaps, including one of the Device.
On March 22, 2018, the Honorable Gregory H. Woods, U.S. District Court Judge for the
Southern District of New York, authorized the interception of Wire and electronic

communications over the Device.1

 

l I am informed that the Device is the cellular telephone that was the subject of the wiretaps Orders described herein
because on A_p_ril 17g 20182 a member of law enforcement dialed the telephone number that was the subject of the
wiretap Orders and the Device rang.

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7. Comrnunications intercepted between March 22 and April 17 pursuant to the
court Order described above demonstrate that COLLAZO routinely used the Device to
facilitate drug- and gang-related activity. More generally, the investigation revealed that
COLLAZO sold heroin and crack cocaine in the Bronx, some of which he obtained from

Mario Rabb, also known as “Boss,” and that he held a position of leadership in the gang

8. On l\/.[arch 31, 2018, COLLAZO used the Device to speak to Lavon Barrett,
also known as “Stunna” (“BARRETT”), another member of the gang and the drug-
trafficking conspiracy (session #152l). The conversation between the two men demonstrated
BARRETT’s position of authority in the gang, as well as the fact that members of the gang
engage in criminal activity to earn money for the gang. During the call, the following

exchange occurred:

COLLAZO: Hey yo, Live called me yesterday, told me to give CK the low, told me
' to give the nigga CK the low for the Bronx, so CK got the low, l tried
to call you yesterday.
7 =1= =k =1=
BARRETT: l don’t know, he say he was gonna talk to me in person, but that nigga
_ ain’t moving right
COLLAZO: l-Iell yeah, Slee‘ze, we ain’t got time for none of these niggas, niggas.
BARRETT: That nigga ain’t getting nothing bro, l don’t care what Live says bro.
COLLAZO: Right, right, you absolutely right
BARRETT: I’m getting tired of like, l ain’t gonna disrespect none of the Dons
behind the wall, but these niggas is always spinning some nigga to do
some shit out here, and niggas be clowns, bro-
COLLAZO: Yeah, I ain’t gonna lie, you ain’t never lie about that.
BARRETT: There are too many chiefs behind the wall making too many calls for
niggas, like this is our side. Y’all take care of that shit right there.

Y’all put us her for a reason. Let us take care of it.
>l<=l<=l=

BARR_ETT Yeeh,.l spoke to C152 yesterday
COLLAZO: Yeah, l spoke to him yesterday too. l don’t know what’s special about

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him, but hey, maybe he’ll generate something for us, you feel me?
BARRETT: That’s what he said, he said something about bringing something to the
table. Then after he told me all that, lie like yo, the bro Live said l sit
here. So I said many, you sit nowhere yet. l’ll talk to you when l see
you in person, know what l mean?
I believe that in this call BARRETT and COLLAZO were discussing the fact that Live told
COLLAZO to give CK the position of “low stain” in the Bronx set of the Mac Baller Brims
(“give the nigga CK the low for-the Bronx”). l am aware that “low stain” is a position of
authority in the hierarchy of the Bloods street gang, and that it falls below the “high stain.” l
am iiirther informed that ‘“behind the wall” is a commonly used slang term for gang members
who are incarcerated, and I therefore believe that BARRETT and CGLLAZO were 7
complaining that incarcerated gang members (“Dons behind the wall”) are giving too many
orders to gang members in the streets and it is causing problems
9. This call also provides evidence of BARRETT’s and COLLAZO’s possession
of firearms, and that the gang employs acts of violence to protect its interests Later in the
call, COLLAZO told BARRETT “l need that food ASAP though, I gotta take care of
something l need that food ASAP, ASAP, ASAP. Word, I ain’t gonna lie, you ain’t think
you can get it?” BARRETT responded, “Well, this what you _do. Start working on getting
some food as well, if l gotta give you the food out of my shit, you got a 38-“‘ Street, right?
With the zero on the back?” COLLAZO responded, “yeah,” to which BARRETT stated, “I
got six dollars in my shit.” COLLAZ_O protested: “Yeah, nah, you gonna need that though”
and BARRETT replied, “But if you gotta go take care of something, then nigga, you gotta go
take care of it.” l believe that, in this context, “food” was a coded word for bullets. l further
believe that BAR`R`ETT` was cont"nrning that C'OLLAZO"had’ a .3'8`0` caliber firearm when lie

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asked, “you got a 38th Street, right? With the zero on the back?” and that BARRETT was
reporting that he had six .380 caliber bullets in his firearm (“give you the food out of my
shit” and “l got six dollars in my shit”). That COLLAZO was contemplating an act of gangm
related violence is apparent from the end of the call where COLLAZO stated, “some nigga
from Clay tried to cut the Mac yesterday l went there and he ain’t really, wasn’t no static,
but l’m done with this. You trying to move on the Macs, so l’ma make a, make a statement
Right. Can’t luck with the Macs like that, heard me? Shit is real heard me? Niggas’ll die
for this shit, right for this shit, and let it fly for this shit.”

10. The intercepted communications revealed that Steven Gethers works with
COLLAZO to sell drugs. For example, on March 24, 2018, COLLAZO received a call from
Gethers on the Device (session #320) in which the following exchange occurred:

GETHERS: l need you right now, right now, right now.

COLLAZO: [Ul] it’s a problem?

GETHERS: Nah, nah, no problem, no problem. l’m talking about movie-wise. I '

need you, like type-shit

COLLAZO: What, what movie?

GETHERS: The hard_

COLLAZO: Alright, cool, um, gotta give me a minute. l gotta walk over there.

l believe that “movie” and “hard” were used as coded references to crack cocaine in this call.
That belief is based in part on their knowledge that “hard” is a commonly used slang term for
crack cocaine, which has a rock-like consistency.

ll. The calls and text messages detailed herein are a small sampling of the drug~
and gang-related communications intercepted over the Device during the authorized
interception period The Device is currently in the lawful possession of the FBI and has been

since it was seized incident to the arrest of`COl_`,lLAZO. ’lherefore, while the FB"I might

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already have all necessary authority to examine the Device, I seek this additional warrant out
of an abundance of caution to be certain that an examination of the Device will comply with

the Fourth Amendment and other applicable laws

l2. The Device is currently in the Eastem District of New York in the custody of
the undersignedJ but it is generally maintained in storage at the FBl’s New York Field Offrce
under item number lBl 8 and barcode E6280573. ln my training and experience, l know that
tlie'Device has been stored in a manner in which its contents arei to the extent material to this
investigation, in substantially the same state as they were when the Device first came into the

possession of the FBI.
'I`ECHNICAL TERMS

l?). Based on my training and experience, I use the following technical terms to

convey the following meanings:

a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular
telephone) is a handheld wireless device used for voice and data
communication through radio signals These telephones send signals through
networks of transmitter/receivers enabling communication with other wireless
telephones or traditional “land line” telephones A wireless telephone usually
contains a “call log,” which records the telephone number, date, and time of
calls made to and from the phone. In addition to enabling voice
communications wireless telephones offer a broad range of capabilities

These capabilities include: storing names and phone numbers in electronic
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“address books;” sending, receiving, and storing text messages and e-mail;
taking, sending, receiving, and storing still photographs and moving video;
storing and playing back audio tiles; storing dates, appointments and other
information on personal calendars; and accessing and downloading
information from the lnternet. Wireless telephones may also include global
positioning system (“GPS”) technology for detennining the location of the

device.

b. Digital camera: A digital camera is a camera that records pictures as digital
picture files, rather than by using photographic iilm. Digital cameras use a
variety of fixed and removable storage media to store their recorded images
Images can usually be retrieved by connecting the camera to a computer or by
connecting the removable storage medium to a separate reader. Removable
storage media include various types of flash memory cards or miniature hard
drives Most digital cameras also include a screen for viewing the stored
images This storage media can contain any digital data, including data

unrelated to photographs or videos

c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a
handheld digital storage device designed primarily to store and play audio,
video, or photographic files However, a portable media player can also store
other digital data. Some portable media players can use removable storage

media Remonable storage media include various types ..o_f flash memory cards

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or miniature hard drives lhis removable storage media can also store any
digital data. Depending on the model, a portable media player may have the
ability to store very large amounts of electronic data and may offer additional

features such as a calendar, contact list,7 clock, or games

d GPS: A GPS navigation device uses the Global Positioning System to display
its current location lt often contains records the locations where it has been.
Some GPS navigation devices can give a user driving or walking directions to
another location. These devices can contain records of the addresses or
locations involved in such navigation The Global Positioning System
(generally abbreviated “GPS”) consists of 24 NAVSTAR satellites orbiting the
Earth. Each satellite contains an extremely accurate clock. Each satellite
repeatedly transmits by radio a mathematical representation of the current
time, combined with a special sequence of numbers These signals are sent by
radio, using specifications that are publicly available A GPS antenna on Earth
can receive those signals When a GPS antenna receives signals from at least
four satellites, a computer connected to that antenna can mathematically
calculate the antenna’s latitude, longitude, and sometimes altitude with a high

level of precision

e. PDA: A personal digital assistant or PDA, is a handheld electronic device
used for storing data (such as names, addresses appointments or notes) and

nti.l.izin.g. computer programs S.ome PD.As.._also function as wireless

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communication devices and are used to access the lntemet and send and
receive e-mail. PDAs usually include a memory card or other removable
storage media for storing data and a keyboard and/or touch screen for entering
data. Removable storage media include various types of flash memory cards
or miniature hard drives This removable storage media can store any digital
data. Most PDAs run computer software, giving them many of the same
capabilities as personal computers For example, PDA users can work with
word-processing documents spreadsheets, and presentations PDAs may also
include global positioning system (“GPS”) technology for determining the

location of the device.

f. Tablet: A tablet is a mobile computer, typically larger than a phone yet
smaller than a notebook, that is primarily operated by touching the screen.
Tablets function as wireless communication devices and can be used to access
the lntemet through cellular networks 802.11 “‘wi-fi” networks or otherwise
Tablets typically contain programs called apps, which, like programs on a
personal computer, perform different functions and save data associated with
those functions Apps can, for example, permit accessing the Web, sending

and receiving e-mail, and participating in lnternet social networks

g. Pager: A pager is a handheld wireless electronic device used to contact an

individual through an alert, or a numeric or text message sent over a

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14.

telecommunications network. Some pagers enable the user to send, as well as

receive, text messages

. IP Address: An lnternet Protocol address (or simply “IP address”) is a unique

numeric address used by computers on the lnternet. An IP address is a series
of four numbers each in the range 0-255, separated by periods (e.g.,

121 .56.97.-178). Every computer attached to the lnternet computer must be
assigned an lP address so that lnternet traffic sent from and directed to that
computer may be directed properly from its source to its destination Most
lntemet service providers control a range of IP addresses Some computers
have static»-that is long-term_IP addresses while other computers have

dynamic-that is frequently changed_lP addresses

lnternet: The lnternet is a global network of computers and other electronic
devices that communicate with each other. Due to the structure of the lnternet,
connections between devices on the lnternet often cross state and intemational
borders even when the devices communicating with each other are in the

SHIH€ Sll&ll€.

Based on my training, experience, and research, and from consulting the

manufacturer’s advertisements and product technical specifications available online at

https://www.lg.com/us/cell-phones/lg-MS2.10-Metro~PCS»aristo, l know that the Device has

capabilities that allow it to serve as a wireless telephone, digital camera, portable media

player and GPS navigation device. In my training and experience, examining data stored on

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devices of this type can uncover, among other things, evidence that reveals or suggests who

possessed or used the device.
ELECTRONIC STORAGE AND FORENSIC ANALYSIS

15. Based on my knowledge, training, and experience, I know that electronic
devices can store information for long periods of time. Similarly,l things that have been
viewed via the lnternet are typically stored for some period of time on the device. This

information can sometimes be recovered with forensics tools.

16. Forensic evidence As further described in Attachment B, this application
seeks permission to locate not only electronically stored information that might serve as
direct evidence of the crimes described on the warrant, but also forensic evidence that
establishes how the Device was used, the purpose of its use, who used it, and when. There is
probable cause to believe that this forensic electronic evidence might be on the Device

because:

a. Data on the storage medium can provide evidence of a file that was once on
the storage medium but has since been deleted or edited, or of a deleted
portion of a tile (such as a paragraph that has been deleted from a word

processing file).

b. Forensic evidence on a device can also indicate who has used or controlled the
device. This “user attribution” evidence is analogous to the search for “indicia

-of-oeeup-ancy” while executing a search warrantat a residence.¢..

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17.

c. A person with appropriate familiarity with how an electronic device works

may, after examining this forensic evidence in its proper context, be able to
draw conclusions about how electronic devices were used, the purpose of their

use, who used them, and when.

. The process of identifying the exact electronically stored information on a

storage medium that are necessary to draw an accurate conclusion is 'a
dynamic process Electronic evidence is not always data that can be merely
reviewed by a review team and passed along to investigators Whether data
stored on a computer is evidence may depend on other information stored on
the computer and the application of knowledge about how a computer
behaves. Therefore, contextual information necessary to understand other

evidence also falls within the scope of the warrant

. Further, in finding evidence of how a device was used, the purpose of its use,

who used it, and when, sometimes it is necessary to establish that a particular

thing is not present on a storage medium.

Nature' ofexamination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant l am applying for would permit the examination of the device

consistent with the warrant. The examination may require authorities to employ techniques

including but not limited to computer-assisted scans of the entire medium, that might expose

many parts of the device to human inspection in order to determine whether it is evidence

described by the warrant

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18. Manner ofexecuzr`on. Because this warrant seeks only permission to examine
a device already in law enforcement’s possession, the execution of this warrant does not
involve the physical intrusion onto a premises Consequently, 1 submit there is reasonable

cause for the Court to authorize execution of the warrant at any time in the day or night
CONCLUSION

19. l submit that this affidavit supports probable cause for a search warrant

authorizing the examination of the Device described in Attachment A to seek the items

described in Attachment B.

Respectfully submitted,

stev’e'a sewing
Special Agent
Federal Bureau of Investigation

  

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ATTACHl\/[ENT A

The property to be searched is a blue LG'smartphone, model LGMS210, bearing
IMEI 353191-09-349393-0, hereinafter the “Device.” The Device is in the custody of the
Federa`l Bureau of Investigation ("FBI") and is being stored in the New York Field Office
under item number 1B18 and barcode E6280573, except that it was removed from storage
and transported to the Eas_tem District of New York by a Special Agent of the FBI on .Tuly
` 3(), 2018 for the purpose of seeking this warrant
This warrant authorizes the forensic examination of the Device for the purpose of

identifying the electronically stored information described in Attachment B.

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ATTACHMENT B

l. All records on the Device described in Attachment A that relate to

violations of including racketeering and racketeering conspiracy, in violation of 18 U.S.C.

§§ 1962(c) and (d), and punishable under 18 U.S.C. § 1963, drug trafficking, in violation of

21 U.S.C. §§ 841, 843, and 846, and Hrearrns-related offenses in violation of 18 U.S.C.

§§ 922 and 924 and involve Felix Collazo, also known as “Broadway,” since January 2017,

including:

. lists of customers and related identifying information;

. types amounts and prices of drugs trafficked as well as dates places and

amounts of specific transactions

. any information related to sources of drugs (including names addresses phone

numbers or any other identifying information);

. any information related to individuals who work with or for RABB to

distribute drugs (including names addresses phone number, or any other

identifying information);

. all bank records checks credit card bills account information, and other

financial records

evidence of the use, possession and/or sale of firearms

. any information demonstrating RABB’s membership in the Bloods street

gang, and the Mac Baller Brims; and

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h. any information related to other individuals who are members in the Bloods
street gang, and the Mac Baller Brims (including names addresses phone

number, or any other identifying information);

2. Evidence of user attribution showing who used or owned the Device at the
time the things described in this warrant were created, edited, or deleted, such as logs

phonebooks, saved usernames and passwords documents and browsing history;

